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     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950

 6   Attorney for Defendant
     MARTIN BAHRAMI
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                  )   Case No. 1:15-cr-00045-LJO-SKO-6
                                                 )
12                     Plaintiff,                )
                                                 )   REQUEST FOR RULE 43 WAIVER OF
13    vs.                                        )   APPEARANCE FOR DEFENDANT; ORDER
                                                 )   THEREON
14    MARTIN BAHRAMI,                            )
                                                 )
15                    Defendant.                 )
                                                 )
16                                               )

17          Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant, Martin Bahrami,

18   having been advised of his right to be present at all stages of the proceedings, hereby requests
19   that this Court proceed in his absence on every occasion that the Court may permit, pursuant to
20   this waiver. Defendant agrees that his interests shall be represented at all times by the presence

21   of his attorney, the Office of the Federal Defender for the Eastern District of California, the same
22   as if Defendant were personally present, and requests that this Court allow his attorney-in-fact to
23   represent his interests at all times. Defendant further agrees that notice to Defendant’s attorney

24   that Defendant’s presence is required will be deemed notice to the Defendant of the requirement
25   of his appearance at said time and place.
26          Defendant lives in Turlock, California, and is a full-time student. It is a hardship for
27   Defendant to travel to Fresno for court appearances. Defendant understands that he will need to
28   be present at any hearing involving any substantive issue. Defendant respectfully requests that
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 1   the Court waive his appearance at all non-substantive hearings, including the August 3, 2015

 2   status conference.

 3
 4            DATED: July 22, 2015                       /s/ Martin Bahrami
                                                         Martin Bahrami
 5                                                       [Original Signature in File]

 6            DATED: July 22, 2015                       /s/ Megan T. Hopkins
                                                         Megan T. Hopkins
 7                                                       Assistant Federal Defender
                                                         Attorney for Defendant
 8                                                       Martin Bahrami

 9
10
11                                             ORDER

12            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

13   appearance may be waived at any and all non-substantive proceedings until further order.

14
15   IT IS SO ORDERED.

16       Dated:        July 25, 2015                              /s/ Sheila K. Oberto
17                                                    UNITED STATES MAGISTRATE JUDGE

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      Bahrami / Rule 43 Waiver                     -2-
